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KOLLER LAW LLC
David M. Koller, Esq. (90119)                                               Counsel for Plaintiff
2043 Locust Street, Suite 1B
Philadelphia, PA 19103
T: (215) 545-8917
F: (215) 575-0826
davidk@kollerlawfirm.com

POLLINS LAW
Scott M. Pollins, Esq.
303 West Lancaster Avenue, Suite 1C
Wayne, PA 19087
T: (610) 896-9909
F: (610) 896-9910
scott@pollinslaw.com


                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CLAIRE YOUNG,                 :                      Civil Action No.
928 Clinton Street, Apartment 1
                              :
Philadelphia, PA 19107        :
              Plaintiff,      :
                              :
      v.                      :                      Complaint and Jury Demand
                              :
MORGAN, LEWIS & BOCKIUS, LLP, :
1701 Market Street            :
Philadelphia, PA 19103        :
              Defendant.      :


                                        CIVIL ACTION

       Plaintiff, Claire Young (hereinafter “Plaintiff”), by and through her attorneys, Koller Law,

LLC and Pollins Law, brings this civil matter against Morgan, Lewis & Bockius LLP (hereinafter

“Defendant”), for violations of the Americans with Disabilities Act of 1990 (“ADA”), as amended,

and the Pennsylvania Human Relations Act (“PHRA”). In support thereof, Plaintiff avers as

follows:
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                                      THE PARTIES

1. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

2. Plaintiff is an adult individual residing at the above captioned address.

3. Upon information and belief, Morgan, Lewis & Bockius LLP is a multinational law firm

   with a headquarters at 1701 Market Street, Philadelphia, PA 19103.

4. At all times relevant hereto, Defendant employed managers, supervisors, agents, and

   employees who Plaintiff alleges had the authority to make decisions concerning Plaintiff’s

   employment. In making said decisions, these individuals engaged in the pattern and

   practice of discriminatory treatment, which forms the basis of Plaintiff’s allegations in the

   instant Complaint.

5. At all times relevant hereto, Defendant employed managers, supervisors, agents, and

   employees who acted directly or indirectly in the interest of the employer. In so acting,

   these individuals engaged in the pattern and practice of discriminatory treatment, which

   forms the basis of Plaintiff’s allegations in the instant Complaint.

                                 JURISDICTION AND VENUE

6. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

7. The Court may properly maintain personal jurisdiction over Defendant because the

   Defendant’s contacts with this state and this judicial district are sufficient for the exercise

   of jurisdiction and comply with traditional notions of fair play and substantial justice, thus

   satisfying the standard set forth by the United States Supreme Court in International Shoe

   Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

8. The Court may exercise original subject-matter jurisdiction over the instant action pursuant

   to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States



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   and seeks redress for violations of federal law.

9. The Court may also maintain supplemental jurisdiction over state law claims set forth herein

   pursuant to 28 U.S.C. § 1367(a) and Rule 18(a) of the Federal Rules of Civil Procedure

   because they are sufficiently related to one or more claims within the Court’s original

   jurisdiction that they form part of the same case or controversy.

10. Venue is properly laid in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§

   1391(b)(1) and 1391(b)(2) because the Defendant is located in this judicial district and

   because all of the acts and/or omissions giving rise to the claims set forth herein occurred

   in this judicial district.

                 EXHAUSTION OF ADMINISTRATIVE REMEDIES

11. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

12. Plaintiff exhausted her administrative remedies under the ADA and the PHRA.

13. Plaintiff timely filed Charges of Discrimination (“Charge”) with the U.S. Equal

   Employment Opportunity Commission (“EEOC”) alleging disability discrimination and

   retaliation against Defendant.

14. The Charges were assigned Charge Numbers 530-2020-00407 and 530-2021-01608 and

   were dual filed with the Pennsylvania Human Relations Commission (“PHRC”).

15. The EEOC issued Plaintiff a Dismissal and Notice of Rights (“Right to Sue”) for both

   Charges on May 17, 2021. Plaintiff received the notice by mail.

16. Plaintiff files the instant Complaint within ninety (90) days of her receipt of the Right to

   Sues in this matter.

17. Plaintiff has exhausted her administrative remedies as to the allegations of this Complaint.




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                                    MATERIAL FACTS

                       PLAINTIFF’S EMPLOYMENT HISTORY

 18. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

 19. On November 20, 2017, Defendant hired Plaintiff as an Accounts Payable Clerk.

 20. Plaintiff was well qualified for her position and performed well.

 21. On March 11, 2019, Plaintiff became an Administrative and Database Assistant.

 22. Plaintiff was well qualified for her position and performed well.

PLAINTIFF SUFFERED A SERIOUS HEALTH CONDITION THAT RESULTED IN
                    HER BECOMING DISABLED

 23. In April 2019, Plaintiff suffered a large left parietal intracerebral hemorrhage

    (hemorrhagic stroke). She was diagnosed with an arteriovenuous malformation

    (“AVM”) brain, a disability under the ADA.

 24. Dr. Omar Choudhri, Neurosurgeon, immediately placed Plaintiff on a medical leave of

    absence.

 25. Plaintiff underwent placement of right frontal external ventricular drain, resection of

    AVM in interval fashion, evacuation of hematoma and intraoperative angiogram

    conducted by Dr. Choudhri.

PLAINTIFF WAS RELEASED TO RETURN TO WORK WITH A REASONABLE
                      ACCOMMODATION

 26. On July 3, 2019, Dr. Choudhri released Plaintiff to return to work with the reasonable

    accommodations of working part-time (20-25 hours per week) and working remotely.

 27. Plaintiff could still perform the essential functions of her position with this reasonable

    accommodation and it did not provide an undue hardship for Defendant.




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DEFENDANT REFUSED TO ACCOMMODATE PLAINTIFF TO WORK REMOTELY

 28. Plaintiff sent Dr. Choudhri’s note to Stacey Brady, Leave Coordinator.

 29. Ms. Brady informed Plaintiff that Defendant could not accommodate her to work

    remotely.

 30. Subsequently, Plaintiff’s fiancé contacted Monica Rodan, Director of Training & Staff

    Operations, and Plaintiff’s direct supervisor, regarding Plaintiff’s return to work status,

    but was informed that he and Plaintiff were only allowed to communicate with Ms.

    Brady.

 31. Defendant was insistent that it was necessary for Plaintiff to return to its location to work

    in person.

 32. However, it was not necessary for Plaintiff to work at Defendant’s location in person as

    all of her job duties were performed on the computer, which she could perform remotely.

  HUMAN RESOURCES REFUSED TO PROVIDE PLAINTIFF A REASONABLE
ACCOMMODATION, AND INSTEAD PLACED PLAINTIFF ON A MEDICAL LEAVE
                        OF ABSSENCE

 33. On August 15, 2019, Plaintiff had a phone call with Ms. Brady and Huda Goldman,

    Human Resources Director.

 34. During this phone call, Ms. Brady and Ms. Goldman denied Plaintiff’s request for the

    reasonable accommodation of working from 10 am to 12 pm at Defendant’s Center City

    Philadelphia office and from 2 pm to 5 pm remotely.

 35. Plaintiff explained to them that Dr. Choudhri stated that she could not work at

    Defendant’s location for more than two (2) hours at a time.

 36. However, they proceeded to cut Plaintiff off and told her that she could rest on a couch in

    Defendant’s dining room.



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 37. When Plaintiff informed them that this was not a viable option due to her disability and

    that Dr. Choudhri would not release her to return without her requested accommodations,

    they stated that the only accommodation Defendant could provide her was to place her on

    an unpaid leave of absence.

    PLAINTIFF CONTINUED TO UPDATE DEFENDANT REGARDING HER
   DISABILITY AND NEED FOR A REASONABLE ACCOMMODATION, BUT
      DEFENDANT CONTINUED TO REFUSE TO ACCOMMODATE HER

 38. Plaintiff continued to provide all of her medical documentation to Ms. Brady as she was

    directed, but Defendant frequently accused her of being unresponsive and not providing it

    with her medical updates.

 39. Plaintiff had three (3) phone conversations with Ms. Goldman and Ms. Brady since she

    had been cleared by Dr. Choudhri to return to work with medical restrictions, but they

    continued to refuse to provide her with her requested reasonable accommodation.

 40. Due to Defendant’s lack of action, Plaintiff requested that Ms. Goldman and Ms. Brady

    provide her with Defendant’s proposals for a reasonable accommodation in writing

    before they had another phone conversation.

 41. However, they refused to do so, and stated that they would only provide Plaintiff with

    documentation after phone conversations were held.

 PLAINTIFF AGAIN REQUESTED A REASONABLE ACCOMMODATION AND
COMPLAINED THAT DEFENDANT WAS FORCING HER TO NEGOTIATE WITH
                         HER HEALTH

 42. On September 4, 2019, Plaintiff emailed Ms. Goldman and Ms. Brady that her request for

    reasonable accommodations continued to be to work part-time hours and remotely.




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43. Plaintiff informed them that she could report to Defendant’s Center City Philadelphia

   office for planned meetings and in-person check-ins, but that she could not report to work

   at the office on a part-time basis.

44. Plaintiff also stated that she believed Ms. Goldman and Ms. Brady were forcing her to

   negotiate with her health by refusing to provide her with a reasonable accommodation.

45. Ms. Goldman responded by insinuating that Plaintiff was trying to not engage in the

   interactive process.

46. Plaintiff responded that this was not the case.

   DEFENDANT OFFERED PLAINTIFF A DIFFERENT POSITION AND
ACCOMMODATIONS THAT DIRECTLY VIOLATED PLAINTIFF’S MEDICAL
                      RESTRICTIONS

47. On September 5, 2019, Ms. Goldman informed Plaintiff that Defendant could provide her

   with an accommodation by transferring her to an Accounts Receivable Assistant position.

48. However, Ms. Goldman stated that Plaintiff would be required to report to Defendant’s

   office three (3) times a month for the full day, with two (2) of those days being

   consecutive.

49. They also scheduled a phone conversation to discuss it on September 11, 2019.

50. On September 11, 2019, Plaintiff had a phone conversation with Ms. Goldman and Ms.

   Brady.

51. They stated that Defendant could accommodate Plaintiff by transferring her to the

   Accounts Receivable Assistant position, but they could not answer Plaintiff’s questions

   regarding the specific accommodation they intended to offer her, the essential functions

   of the position or why she could not work remotely in her current position.




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52. It was not until September 20, 2019 that Ms. Goldman followed-up the September 11,

   2019, phone conversation with an email.

53. Defendant’s proposed accommodations were in direct violation of Plaintiff’s medical

   restrictions, including, but not limited to, requiring her to work 32 hours per week and

   work a full work day at the office three (3) day per month.

54. Ms. Goldman stated that working out of the office was essential because Plaintiff needed

   to perform mail duties.

55. Upon information and belief, mail duties were not an essential function of the database

   assistant position.

56. In her explanation for why the firm could not accommodate Plaintiff in her prior database

   assistant role, Ms. Goldman cited security concerns, project work, delivering mail and

   answering phone calls as the reason why Plaintiff could not work remotely in her

   position.

57. None of these job duties had previously been essential to the database assistant position.

58. In addition, Ms. Goldman’s response did not clearly explain why Plaintiff could not be

   accommodated to work remotely in her current position.

 DEFENDANT CONTINUED TO REFUSE TO PROVIDE PLAINTIFF WITH A
              REASONABLE ACCOMMODATION

59. On September 24, 2019, Plaintiff responded to Ms. Goldman’s email and informed her

   that she could not perform the job of Accounts Receivable Assistant because the specifics

   were in direct violation of her medical restrictions.

60. Plaintiff also complained as to why Defendant refused to accommodate Plaintiff to work

   remotely in her current position.




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 61. However, Defendant did not respond to Plaintiff’s inquiries regarding its refusal to

    provide her with the requested reasonable accommodation.

 62. Defendant continued to refuse to accommodate Plaintiff even though she was able to

    perform the essential functions of her job.

    PLAINTIFF FILED A CHARGE OF DISCRIMINATION WITH THE EEOC

 63. On October 21, 2019, Plaintiff filed a Charge of Discrimination with the EEOC alleging

    discrimination based on her disability, failure to accommodate and retaliation for

    requesting an accommodation.

 64. Defendant continued to deny Plaintiff’s requests for a reasonable accommodation.

     PLAINTIFF SUBMITTED ANOTHER REQUEST FOR A REASONABLE
         ACCOMMODATION, BUT WAS IGNORED BY DEFENDANT

 65. In January 2020, Plaintiff submitted another medical note from Dr. Choudhri requesting

    the reasonable accommodation for her to work part-time from home until she felt

    physically able to work full time from home.

 66. Dr. Choudhri’s note also stated that if Plaintiff was required to attend a mandatory

    meeting at Defendant, she could only be there for a maximum of two (2) hours per day

    before returning home to rest.

 67. Defendant did not even respond to Plaintiff’s request for the reasonable accommodation.

DEFENDANT ALLOWED NON-DISABLED EMPLOYEES TO WORK FROM HOME
  DUE TO THE COVID-19 PANDEMIC, WHICH WAS THE ACCOMMODATION
         PLAINTIFF HAD BEEN REQUESTING, BUT WAS REFUSED

 68. In mid-March 2020, Defendant directed its employees to work remotely due to the

    COVID-19 pandemic.

 69. This was the specific accommodation Plaintiff requested, and it showed that Defendant

    could have accommodated Plaintiff with remote working in 2019 and earlier in 2020.


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DEFENDANT CONTINUED TO DENY PLAINTIFF’S REQUESTED REASONABLE
                      ACCOMMODATION

 70. Defendant continued to deny Plaintiff’s accommodation request and did not engage in the

    requisite interactive process.

DEFENDANT TERMINATED PLAINTIFF DUE TO HER POSITION ALLEGEDLY
       BEING ELIMINATED DUE TO THE COVID-19 PANDEMIC

 71. On December 9, 2020, Plaintiff contacted Ms. Goldman and Ms. Brady inquiring if she

    was able to resume her position remotely.

 72. On December 11, 2020, Ms. Goldman responded to Plaintiff that her position had been

    eliminated and that Defendant did not and would have not have any administrative

    openings.

 73. Ms. Goldman cited the COVID-19 pandemic as the reason for this.

 74. Upon information and belief, Defendant had multiple administrative openings that

    Plaintiff was well qualified for and could perform.

 75. Defendant discriminated against Plaintiff due to her disability, denied her a reasonable

    accommodation, denied her work positions, and retaliated against her for requesting a

    reasonable accommodation and filing a Charge of Discrimination with the EEOC, all in

    violation of the ADA and the PHRA.

                     COUNT I – DISABILITY DISCRIMINATION
                                ADAAA and PHRA

 76. Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

 77. Plaintiff is a “qualified individual with a disability” as that term is defined under the

    ADA, as amended, and the PHRA because Plaintiff has, or had at all times relevant

    hereto, a disability that substantially limits or limited one or more major life activities or

    because Plaintiff had a record of such an impairment or because Plaintiff was regarded as


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       and/or perceived by Defendant and its agents as being disabled.

   78. Plaintiff was qualified to perform the job.

   79. Plaintiff was subject to an adverse employment action, including, but not limited to

       termination.

   80. Circumstances indicated that Plaintiff’s disabilities were the reason for the adverse

       employment action.

   81. Defendant did not have a legitimate non-discriminatory reason for terminating Plaintiff.

   82. Plaintiff’s disabilities motivated Defendant’s decision to terminate Plaintiff.

   83. The purported reason for Defendant’s decision is pretextual.

   84. Others similarly situated but outside of Plaintiff’s protected class were treated more

       favorably.

   85. The above actions by Defendant also constitute a failure to accommodate and a failure to

       engage in the required interactive process.

   86. As a result of Defendant’s unlawful disability discrimination, Plaintiff has suffered

       damages as set forth herein.

       WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of

this Complaint, infra.

                                 COUNT II – RETALIATION
                                    ADAAA and PHRA

   87. Plaintiff incorporates all the above paragraphs as if they were set forth at length herein.

   88. Plaintiff engaged in activity protected by the ADA and PHRA when she requested a

       reasonable accommodation and complained of discrimination externally by reporting the

       discrimination to the EEOC.

   89. Thereafter, Defendant took adverse employment actions against Plaintiff, including, but


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       not limited to, termination.

   90. There exists a causal connection between Plaintiff’s participation in protected activity

       and the adverse employment action.

       WHEREFORE, Plaintiff seeks the damages set forth in the Prayer for Relief clause of

this Complaint, infra.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Claire Young, requests that the Court grant her the following

relief against Defendant:

       (a)     Compensatory damages;

       (b)     Punitive damages;

       (c)     Emotional pain and suffering;

       (d)     Reasonable attorneys’ fees;

       (e)     Recoverable costs;

       (f)     Pre and post judgment interest;

       (g)     An allowance to compensate for negative tax consequences;

       (h)     A permanent injunction enjoining Defendant, its directors, officers, employees,
               agents, successors, heirs and assigns, and all persons in active concert or
               participation with it, from engaging in, ratifying, or refusing to correct, employment
               practices which discriminate in violation of the ADA and the PHRA.

       (i)     Order Defendant to institute and implement, and for its employees, to attend and/or
               otherwise participate in training programs, policies, practices and programs which
               provide equal employment opportunities;

       (j)     Order Defendant to remove and expunge, or to cause to be removed and expunged,
               all negative, discriminatory, and/or defamatory memoranda and documentation
               from Plaintiff’s record of employment, including, but not limited, the pre-textual
               reasons cited for its adverse actions, disciplines, and termination; and

       (k)     Awarding equitable and/or injunctive relief as permitted by law, equity and the
               federal statutory provisions sued hereunder, pursuant to Rules 64 and 65 of the


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               Federal Rules of Civil Procedure.



                                   JURY TRIAL DEMAND

       Demand is hereby made for a trial by jury as to all issues.

                                       CERTIFICATION

      I hereby certify that to the best of my knowledge and belief the above matter in controversy

is not the subject of any other action pending in any court or of a pending arbitration proceeding,

nor at the present time is any other action or arbitration proceeding contemplated.



                                             RESPECTFULLY SUBMITTED,
                                             KOLLER LAW, LLC


Date: August 10, 2021                 By:    /s/ David M. Koller
                                             David M. Koller (Pa. Atty. Id. No. 90119)
                                             2043 Locust Street, Suite 1B
                                             Philadelphia, PA 19103
                                             215-545-8917
                                             davidk@kollerlawfirm.com


                                             POLLINS LAW

                                      By:    /s/ Scott M. Pollins
                                             Scott M. Pollins (Pa. Atty. Id. No. 76334)
                                             303 West Lancaster Avenue, Suite 1C
                                             Wayne, PA 19087
                                             610-896-9909
                                             scott@pollinslaw.com

                                             Counsel for Plaintiff




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